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           Fill 111 tillS IlfOlll1iltlOIl to Iclelltlfy your case


           United States Bankruptcy Court for the:

           (ovllldt./     District of   r-/oCJ'r/O                                                             i
           Case number (/fknown):    __________                                  ~Pter you are filing under:   I

                                                                                    ~::~~
                                                                                 Cl Chapter 121
                                                                                 Cl Chapter 13
                                                                                                        _.:II~                                 o Check if this is an
                                                                                                                                                   amended filing



     Official Form 101
     Voluntary Petition for Individuals Filing for B                                                                                                                     12115
     The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file                           bankruptcy case together-called a
     joint case--and In joint cases, these forms use you to ask for information from both debtors. For exam                          Ie, if a form asks, "Do you own a car,"
     the answer would be yes if either debtor owns a car. When Information Is needed about the spouses se                             arately, the form uses Debtor 1 and
     Debtor 2 to distinguish between them. In joint cases, one of the spouses must report Information as D                            tor 1 and the other as Debtor 2. The
     same person must be Debtor 1 in all of the forms.
     Be as complete and accurate as possible. If two married people are filing together, both are equally res onsible for supplying correct
     information. If more space Is needed, attach a separate sheet to this form. On the top of any additional ges, write your name and case number
     (if known). Answer every question.


                      Identify you......

                                                    About Debtor 1:                                                About              r 2 (Spouse Only In a Joint Case):
    • 1.     Your full name
             Write the name that is on your
             government-issued picture
                                                                                                                   First name
             identification (for example,
             your driver's license or
             passport).                                                                                            Middle name

             Bring your picture
             identification to your meeting                                                                        Last name
             with the trustee.
                                                    Suffix (Sr., Jr., II, III)                                     Suffix (Sr., Jr. II, III)




     2.     All other names you
            have used in the last 8                 First name
                                                                 5err;e                                            First name
            years
             Include your married or                Middle name                                                    Middle name
             maiden names.
                                                    Last name                                                      Last name

                                                                                                                                                                      1-:··

                                                    First name                                                      First name


                                                    Middle name                                                    Middle name


                                                    Last name                                                       Last name




      3.     Only the last 4 digits of
             your Social Security
             number or federal
                                                    xxx
                                                    OR
                                                             -xx-!lJliL1­                                          xxx
                                                                                                                   OR
                                                                                                                            ­

             Individual Taxpayer
             Identification number                  9xx - xx - - - - - - -                        ---,.,.­
                                                                                                                   9xx
             (ITIN)

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0ebI0r1                                                                                            Case number (ii'~,_ _ _ _ _ _ _ _ _ _ _ __




                                     About Debtor 1:                                                  About DebtiN' 2 (Spouse Only In a Joint Case):


4..   Any business names
      and Employer                   ~ave not used any business names or EINs.                         o I have net used any business names or EINs.
      Identification Numbers
      (EIN) you have used in
      the last 8 years               Busln_name                                                       Business name

      Include trade names and
      doing business as names        Busin_name                                                       Business nam~



                                                                                                      EIN­             --­
                                                                                                       EIN­            ------­

6.    Where yoU live                                                                                   If Debtor 21~es at a different address:




                                                                                                       Number




                                                                                                                                              State     ZIP Code




                                     If your mailing address Is different from the one                 If Debtor 2's mailing address Is different from
                                     above, fill It in here. Note that the court will send             yours, fill It In here. Note that the court will send
                                     any notices to you at this mailing address.                       any notices to this mailing address.



                                     Number                                                           Number           Street


                                     P.O. Box                                                          P.O. Box


                                     City                                     State     ZIP Code       City                                    State    ZIP Code




6. Why you are choosing              Check one:                                                       Check one:
      this district to file for
      bankruptcy                     ~ver the last 180 days before filing this petition.               0: OVer the last 180 days before filing this petition.
                                            I have lived in this district longer than in any                  I have I~ in this district longer than in any
                                            other district.                                                   other district.

                                     5      I have another reason. Explain.                           5 I have ar~r reason. Explain.
                                            (See 28 U.S.C. § 1408.)                                           (See 28 ~.S.C. § 1408.)




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i                                                                                                                         !
                                                                                                             Case number (if_th'--___________
    Debtor 1
                 FISt Name   . . - Name               Last Na




               Tel. the Court About Your Bankruptcy Case


    7. The chapter of the                 Check one. (For a brief description of each, see Notice Required by 11 U.
         Bankruptcy Code you              for Bankruptcy (Form 2010». Also, go to the top of page 1 and check the Annrnnri..t",
         are choosing to file
         under
                                          ~haPter7
                                          o Chapter 11
                                          o Chapter 12
                                          o Chapter 13
    8. How you will pay the fee           0 I will pay the entire fee when I file my petition. Please ch        with the derk's office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier's check, or money 0 er. If your attorney is
                                               submitting your payment on your behalf, your attorney may pa with a credit card or check
                                               with a pre-printed address.

                                          IIIApplication for Individuals to Pay The Filing Fee in Instal/men
                                                 need to pay the fee in installments. If you choose this opti n, sign and attach the
                                                                                                               (Official Form 103A).

                                          (J I request that my fee be waived (You may request this optio                       only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee, an                   may do so only if your income is
                                             less than 150% of the official poverty line that applies to your                 mily size and you are unable to
                                             pay the fee in installments). If you choose this option, you mu                   fill out the Application to Have the
                                             Chapter 7 Filing Fee Waived (Official Form 103B) and file it wi                  h your petition.


         Have you filed for
                                          ~o
    9.

                                                                                                            06/fJl/PI6 d.asenUmber IJ-,J}706- LfrlJ
         bankruptcy within the
         last 8 years?                     Yes.       District       QOcJll/6!IJ
                                                                                                               riIt yyyv •
                                                                                                            MM'I
                                                                     ~ lJol/fMI/                            q~J/;.D6r c.asenum~J1706 -<fl7I
                                    ,~                District
                                                                                                            Mill Dr/I YYYV
                                                      District       Sooll/w.t
                                                                 _......,.~t.:.I.I:,."".,"'--_ _ _   When    ,nht/wLJ(qasenumber          16"-:J.11 o/J JKIJ
                                                                                                            'M'It!CI:(Yvvv i
                                                                                                                          I·
    10. Are any bankruptcy
        cases pending or being
                                          ~o                                                                              I



        filed by a spouse who is          (J Yes.     Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ l'ielationship to you
        not filing this case with                     District _ _ _ _ _ _ _ _ _ When                       _ _ _ _ _ case number, if known,_ _ _ _ _ __
        you, or by a business                                                                               MM/DD IYYYV
        partner, or by an
        affiliate?
                                                      Debtor

                                                      District _ _ _ _ _ _ _ _ _ When
                                                                                                            MM/DD/YYYV


    11. Do you rent your                  ~o.     Go to line 12.
        residence?                        (J Yes. Has your landlord obtained an eviction judgment against you a d do you want to stay in your
                                                      residence?

                                          .l   (7 ......EI No. Go to line 12.
                                          IV ,- 0          Yes. Fill out Initial Statement About an Eviction Judgment          ainst You (Form 101A) and file it with
                                                           this bankruptcy petition.



    Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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    Debtor 1        FntName           __
                                                                                                      Case number (If"".....,_ _ _ _ _ _ _ _ _ _ _ __




                  Report About Any Businesses You OWn as a Sole ProprietOl'


    12. Are you a sole proprietor
          of any full- or part-time
                                            ri No. Go to Part 4.

          business?                         (J Yes. Name and location of business
          A sole proprietorship is a
          business you operate as an
                                                    Name of business, if any
          individual, and is not a
          separate legal entity such as
          a corporation, partnership, or
          LLC.
                                                    Number      Street

          If you have more than one
          sole proprietorship, use a
          separate sheet and attach it
          to this petition.
                                                     City                                                                 ZIP Code


                                                    Check the appropriate box to describe your business:

                                                    (J Health Care Business (as defined in 11 U.S.C. § 101 (27A»
                                                    (J Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B )
                                                    (J Stockbroker (as defined in 11 U.S.C. § 101 (53A»
                                                    (J Commodity Broker (as defined in 11 U.S.C. § 101(6»
                                                    (J None of the above


    13. Are you filing under                " you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
          Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small busi  debtor, you must attach your
          Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 116(1)(8).
          are you a small business
          debtot?
                                            ~o.
\         For a definition of small
          business debtor, see
                                                    I am not filing under Chapter 11.

                                            (J No. I am filing under Chapter 11, but I am NOT a small business debior according to the definition in
          11 U.S.C. § 101(51 D).                    the Bankruptcy Code.                                              .

                                            (J Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                    Bankruptcy Code.


                  Report if You OWn 01' Have Any Hazardous Property 01' Any Property That N..... ImnMldltde Attention


    14.   Do you own or have any
          property that poses or is
          alleged to pose a threat          (J Yes. Vllhat is the hazard?
          of imminent and
          identifiable hazard to
          public health or safety?
          Or do you own any
          property that needs
                                                      If immediate attention is needed, why is it needed? _ _ _~-------------
          immediate attention?
          For example, do you own
          perishable goods, or livestock
          that must be fed, or a building
          that needs urgent repairs?
                                                      Vllhere is the property? :-:---:-_ _ _=:--,.._ _ _ _ _-+_____________
                                                                               Number        Street




                                                                               City                                           State     ZIP Code


    Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 4
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    Debtor 1                                                                                          Case nUmberlfff<now1'_ _ _ _ _ _ _ _ _ _ _ __




               Explain Your Efforts to Receive a Briefing About CredH Counseling

                                         About Debtor 1:                                                                  2 (Spouse Only In a Joint case):
    15. Tell the court whether
       you have received a
       briefing about credit             You must check one:                                                                one:
       counseling.
                                         ri'. received a briefing from an approved credit
                                            counseling agency within the 180 days before I
                                                                                                                 rac:al~'ad a briefing from an approved credit
                                                                                                              COIJn&e,lnlg agency within the 180 days before I
       The law requires that you            filed this bankruptcy petition, and I received a                                 barlknlpt(:y petition, and I received a
       receive a briefing about credit      certificate of completion.                                        ... ...tlfl..~.. of completion.
       counseling before you file for
                                            Attach a copy of the certificate and the payment                            copy of the certificate and the payment
       bankruptcy. You must
                                            plan, if any, that you developed with the agency.                              that you developed with the agency.
       truthfully check one of the
       following choices. If you         [J I received a briefing from an approved credit                  [J I received a briefing from an approved credit
       cannot do so, you are not
                                            counseling agency within the 180 days before I                    counse/ing agency within the 180 days before I
       eligible to file.
                                            filed this bankruptcy petition. but I do not have a               filed th~ bankruptcy petition, but I do not have a
                                            certificate of completion.                                        certifi. of completion.
       If you file anyway, the court
                                            Within 14 days after you file this bankruptcy petition,           Within 1,4 days after you file this bankruptcy petition,
       can dismiss your case, you
                                            you MUST file a copy of the certificate and payment               you MUST file a copy of the certificate and payment
       will lose whatever filing fee                                                                          plan, if 'ny.
                                            plan, if any.
       you paid, and your creditors
       can begin collection activities   [J I certify that I asked for credit counseling                   [J I certify that I asked for credit counseling
       again.                               services from an approved agency, butwas                          servl   from an approved agency, butwas
                                            unable to obtain those services during the 7                      unable 0 obtain those services during the 7
                                            days after I made my request, and exigent                         days    r I made my request, and exigent
                                            clrcumslances merit a 30-day temporary waiver                     circum tances merit a 30-day tempGrery waiver
                                            of the requirement                                                of the   uirement
                                            To ask for a 3O-day temporary waiver of the                                r a 3O-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                   requi         attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why                 what e       you made to obtain the briefing. why
                                            you were unable to obtain it before you filed for                 you we, unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                        bankruptcy, and what exigent circumstances
                                            required you to file this case.                                   require~ you to file this case.
\
!                                           Your case may be dismissed if the court is                        Your~' e may be dismissed if the court is
                                            dissatisfied with your reasons for not receiving a                dissatis ad with your reasons for not receiving a
I                                           briefing before you filed for bankruptcy.
                                            If the court is satisfied with your reasons, you must
                                                                                                              briefing before you filed for bankruptcy.
                                                                                                              If the ,urt is satisfied with your reasons, you must
                                            still receive a briefing within 30 days after you file.           still ~ive a briefing within 30 days after you file.
                                            You must file a certificate from the approved                     You mu' t file a certificate from the approved
                                            agency, along with a copy of the payment plan you                 agency along with a copy of the payment plan you
                                            developed, if any. If you do not do so, your case                 develo     , if any. If you do not do so, your case
                                            may be dismissed.                                                 may be dismissed.
                                            Any extension of the 3O-day deadline is granted                   Any ext nsion of the 3O-day deadline is granted
                                            only for cause and is limited to a maximum of 15                  only for cause and is limited to a maximum of 15
                                            days.                                                             days.

                                         [J I am not required to receive a briefing about                  [J I am n  required to receive a briefing about
                                            credit counseling because of:                                     credit ounsellng because of:

                                            [J Incapacity. I have a mental illness or a mental                [J InClijpaclty. I have a mental illness or a mental
                                                               deficiency that makes me                                            deficiency that makes me
                                                               incapable of realiZing or making                                    incapable of realiZing or making
                                                               rational decisions about finances.                                  rational decisions about finances.
                                            [J Disability.     My physical disability causes me                                    My physical disability causes me
                                                               to be unable to participate in a                                    to be unable to participate in a
                                                               briefing in person. by phone, or                                    briefing in person, by phone, or
                                                               through the internet. even after I                                  through the internet. even after I
                                                               reasonably tried to do so.                                          reasonably tried to do so.
                                            [J Active duty. I am currently on active military                          ve duty. I am currently on active military
                                                               duty in a military combat zone.                                  duty in a military combat zone.
                                            If you believe you are not required to receive a                  If you lieve you are not required to receive a
                                            briefing about credit counseling, you must file a                 briefing about credit counseling, you must file a
                                            motion for waiver of credit counseling with the court.            motion or waiver of credit counseling with the court.




    Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5


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!
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Debtor 1       Fnt Name      __   Name
                                                                                                                                               Case number




             Answer These Questions for Reporting Purposes

                                         16a.   Are your debts primarily consumer debts? C0I1SUJmeJ"de'btslare
16.   What kind of debts do                     as "incurred by an indMdual primarily for a personal, family, or
      you have?
                                                CI No. Go to line 16b.
                                                rJI Yes. Go to line 17.
                                         16b.   Are your debts primarily business debts? Business debts
                                                money for a business or investment or through the operation of the                                               lJ !.IliUIelSl>

                                                CI No. Go to line 16c.
                                                CI Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or                                                 uu",,,,,,,,.,,, debts.


17.   Are you filing under
      Chapter7?                          CI No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after         t& Yes. administrative
                                                 I am filing under Chapter 7. Do you estimate that after any
                                                                expenses are paid that funds will be available to
      any exempt property is
      excluded and
      administrative expenses
                                                 Iii No
      are paid that funds will be                  CI Yes
      available for distribution
      to unsecured creditors?
18.   How many creditors do                 1-49                                                                     CI 1,00Q...5,000                                     CI 25,001-50,000
      you estimate that you              CI 5Q...99                                                                  CI 5,001-10,000                                      CI 50,001-100,000
      owe?                               CI 100-199                                                                  CI 10,001-25,000                                     CI More than 100,000
                                         CI 200-999

19. How much do you                      CI $0-$50,000                                                               CI $1,000,001-$10 million                             CI $500,000,001-$1 billion
      estimate your assets to            CI $50,001-$100,000                                                         CI $10,000,001-$50 million                            CI $1,000,000,001-$10 billion
      be worth?                          CI,$100,001-$5OO,OOO                                                        CI $50,000,001-$100 million                           CI $10,000,000,001-$50 billion
                                         5lf $500,001-$1 million                                                     CI $100,000,001-$500 million                          CI More than $50 billion

20.   How much do you                    CI $0-$50,000                                                               CI $1,000,001-$10 million                             CI $500,000,001-$1 billion
      estimate your liabilities          CI $50,001-$100,000                                                         CI $10,000,001-$50 million                            CI $1,000,000,001-$10 billion
      to be?                             CI..)1oo,001-$500,ooo                                                       CI $50,000,001-$100 million                           CI $10,000,000,001-$50 billion
                                         !iii $500,001-$1 million                                                    CI $100,000,001-$500 million                          CI More than $50 billion
             Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that                                                    information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if:..linihl.. under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under                , and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not payor agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C.§ 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining inooey or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonme' for up to 20 years, or both.
                                         18 U.S.C. §§ 152,1341, 1519, and 3571.


                                         X       ~                                                                                                 X__- +_____________
                                            Signature of Debtor 1                                                                                     Signature of Debtor 2


                                            8<oarted on         ~lJ,/6
                                                          c'-, .'~\'~1' ,'.-"1""'~,;",,,,,."··-   .... '''-~t>'''   .",~   q   ... ,
                                                                                                                                                                                      I""'"
                                                                                                                                                                                      ~¥~¥;;'JI_"NV,."":'c'«"~.#:?""·,,,~~:?/Y~~r"




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Debtor 1                                                                                   Case number (11I<l10      )_ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                                    !
                                                                                                            ~""1'">"~'{#J~"

                                I, the attorney for the debtor(s) named in this petition. declare that I have Informed the debtor(s) about eligibility
For your attorney. if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code,and have explained the relief
represented by one              available under each chapter for which the person is eligible, I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U,S,C, § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented      knowledge after an inquiry that the information in the schedules filed with ,he petition is incorrect.
by an attorney, you do not
need to file this page.         X                                                                                   .
                                                                                                     Date
                                    Signature of Attomey for Debtor                                                           MM         DD IYYYY




                                    Printed name



                                    Firm name



                                    Number      Street




                                    City                                                            State                     ZIP Code




                                    Contact phone _ _ _ _ _ _ _ _ _ _ _ _ __                        Email addr l'ss




                                    Bar number                                                      State




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    Debtor 1                                                                             CasenumberCif__• _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                         y




    For you if you arv filing this                                                             nkruptcy court, but you
                                     The law allows you, as an individual, to represent yourself in
    bankruptcy without an            should understand that many people find It extremely di ult to represent
    attorney                         themselves successfully. Because bankruptcy has long­ rm financial and legal
                                     consequences, you arv strongly urged to hire a qualified ttorney.
    If you arv rvpresented by
    an attorney. you do not          To be successful, you must correctly file and handle your bankrup cy case. The rules are very
    need to file this page.          technical, and a mistake or inaction may affect your rights. For e .mple, your case may be
                                     dismissed because you did not file a required document, pay a ~ on time, attend a meeting or
                                     hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                     firm if your case is selected for audit. If that happens, you could loSe your right to file another
                                     case, or you may lose protections, including the benefit of the aUjmatic stay.
                                     You must list all your property and debts in the schedules that yo . are required to file with the
                                     court. Even if you plan to pay a particular debt outside of your banl<ruptcy, you must list that debt
                                     in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                     property or properly claim it as exempt, you may not be able to k8f!lp the property. The judge can
                                     also deny you a discharge of all your debts if you do something d~honest in your bankruptcy
                                     case, such as destroying or hiding property, falsifying records, or . ing. Individual bankruptcy
                                     cases are randomly audited to determine if debtors have been a rate, truthful, and complete.
                                     Bankruptcy fraud is a serious crime; you could be fined and prisoned.
                                     If you decide to file without an attorney, the court expects you to f lIow the rules as if you had
                                     hired an attomey. The court will not treat you differently because ou are filing for yourself. To be
                                     successful, you must be familiar with the United States Bankrupt Code, the Federal Rules of
                                     Bankruptcy Procedure, and the local rules of the court in which yo r case is filed. You must also
                                     be familiar with any state exemption laws that apply.

                                     Are you aware that filing for bankruptcy is a serious action with 10 g-term financial and legal
                                     consequences?
                                     a   No
                                     ~Yes
\                                    Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                     inaccurate or incomplete, you could be fined or imprisoned?
                                     o No
                                     g'yes

                                     Di9 you payor agree to pay someone who is not an attomey to h$lp you fill out your bankruptcy forms?
                                     I! No                                                        i
                                     o Yes. Name ofPerson,_ _ _ _ _ _ _ _ _ _ _ _ _- I_ _ _ _ _ _ _ _ __
                                              Attach Bankruptcy Petition Preparer's Notice, Declaration, a


                                     By signing here, I acknowledge that I understand the risks involv in filing without an attomey. I
                                     have read and understood this notice, and I am aware that filing bankruptcy case without an
                                     attorney may cause me to lose my rights or property if I do not pr pe/1y handle the case.



                                      Signature of Debtor 1

                                     Date                                                         Date
                                                                                                                MM/ DO /VYYY
                                     Contact phone _ _ _ _ _ _ _ _ _ _ _ __


                                     Cell phone                                                   Cell

                                     Email address



    Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                               pageS
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                                           CREDITORS

    1 WASHINGTON MUTUAL MORTGAGE CO.
        P.O. BOX 78148
        PHOENIX. AZ. 85062-8148

    2). HOMECOMMINGS FINANCIAL
      BANKRUPTCY DEPT.
      P.O. BOX 939072 SAN DIEGO
      CAliFORNIA,92193-9072

    4). AlBERTElLI LAW, C/O ROBERT K. BOWEN,
       FLA. BAR # 531901, P.O. BOX 23028
       TAMPA, FLA.33623




1
